      Case 4:23-cv-04155-YGR             Document 442    Filed 12/20/24   Page 1 of 4




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                                       UNITED STATES DISTRICT COURT
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                        NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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22 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,                                     ORDER GRANTING MOTION
23                                                         FOR PRELIMINARY APPROVAL
                         Plaintiffs,
                                                           OF PROPOSED CONSENT
24                 v.                                      DECREE
25 UNITED STATES OF AMERICA FEDERAL
     BUREAU OF PRISONS et al.,
26
                         Defendants.
27
28
     [4614672.5]                                                        Case No. 4:23-cv-04155-YGR
                        ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL OF PROPOSED
                                             CONSENT DECREE
      Case 4:23-cv-04155-YGR               Document 442      Filed 12/20/24    Page 2 of 4


                   The parties have entered into a Proposed Consent Decree that was filed as Exhibit 1
 1 to the Declaration of Kara Janssen in Support of Plaintiff’s Unopposed Motion for
 2 Preliminary Approval of Proposed Consent Decree, which would settle all claims for
 3 injunctive relief in this case. The parties have submitted a Proposed Notice to the Class
 4 Members, attached as Exhibit 2 to the Declaration of Kara Janssen in Support of the
 5 Motion for Preliminary Approval. This Court has presided over the proceedings in the
 6 above-captioned action and has reviewed all of the pleadings, records, and papers on file
 7 and finds that, good cause appearing, IT IS ORDERED as follows:
 8                 1.     This action is determined to be properly maintained as a class action
 9 pursuant to Rule 23(b)(2) of the Federal Rules of Civil Procedure. The Court has already
10 certified a class defined as “[a]ll people who are now, or will be in the future, incarcerated
11 at FCI Dublin and subject to FCI Dublin’s uniform policies, customs, and practices
12 concerning sexual assault, including those policies, customs, and practices related to care
13 in the aftermath of an assault and protection from retaliation for reporting an assault.”
14 (ECF No. 222). The Court approves the Parties’ revised class definition of “all people
15 who were incarcerated at FCI Dublin between March 15, 2024 and May 1, 2024, and all
16 named Plaintiffs.”
17                 2.     The Proposed Consent Decree falls within the range of possible approval and
18 is sufficiently fair to warrant the dissemination of notice to the Class Members apprising
19 them of the settlement. The Proposed Consent Decree is the product of arm’s-length,
20 serious, informed, and non-collusive negotiations between experienced and knowledgeable
21 counsel who have actively prosecuted and defended this litigation. The Proposed Consent
22 Decree is granted preliminary approval and incorporated herein by this reference, and has
23 the full force and effect of an order of the Court.
24                 3. During the hearing on the preliminary approval, the Court discussed at length its
25 concerns with the settlement. The Court appreciates the parties’ willingness to address
26 these issues as they may impact final approval. The parties agreed to work on the issue
27 during this interim period and shall file a supplement addressing the issues by January 24,
28 2025.
     [4614672.5]                                     1                   Case No. 4:23-cv-04155-YGR
                         ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL OF PROPOSED 5.           W
                                              CONSENT DECREE
      Case 4:23-cv-04155-YGR              Document 442      Filed 12/20/24    Page 3 of 4




 1
 2                 4. Within two (2) business days after this Order granting Preliminary Approval,

 3   the written notice of settlement (the “Notice”) and the Proposed Consent Decree shall

 4   bedisseminated to the Class Members in written form by the BOP. The Notice informs

 5   Class Members that there is no right to opt-out of the Class. The Notice constitutes valid,

 6   due, and sufficient notice to the Class Members, constitutes the best notice practicable

 7   under the circumstances, and complies fully with the requirements of Rule 23 of the Federal

 8   Rules of Civil Procedure. The Notice apprises Class Members in a fair and neutral way of

 9   the existence of the Proposed Consent Decree and their rights with respect to the Proposed

10   Consent Decree.

11                 5.     Dissemination of the Notice as provided above is hereby authorized and

12   approved, and satisfies the notice requirement of Rule 23(e), the Federal Rules of Civil

13   Procedure, the Constitution of the United States, due process, and any other applicable

14   rule(s) of this Court. The Government must file and serve on Class Counsel a declaration

15   affirming that notice was published as required in this Order.

16                 6.     Any Class Member may enter an appearance on their own behalf in this action

17   through that Class Member’s own attorney (at their own expense), but need not do so. Class

18   Members who do not enter an appearance through their own attorneys will be represented

19   by Class Counsel.

20                 7. In order to ensure the timely receipt of any objection to the Proposed Consent

21   Decree Class Members may wish to busmit,he Court sets the following deadlines:

22                 8.    Parties shall file the supplement discussed at the hearing by January 24, 2025.
23                 9.    Any Class Member may object to the Proposed Consent Decree by

24 submitting an objection by February 7, 2025. Class Counsel will respond to any
25 timely-filed objections not later than February 14, 2025 in the context of filing the
26 Motion for Final Approval.
27                                                                                                     8.
28
     [4614672.5]                                    2                   Case No. 4:23-cv-04155-YGR
                        ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL OF PROPOSED
                                             CONSENT DECREE
      Case 4:23-cv-04155-YGR               Document 442       Filed 12/20/24   Page 4 of 4



                    10.     The Court will consider written communications when deciding whether to
 1
     approve the Proposed Consent Decree. Comments must include at the top of the first
 2
 3 page the case name, California Coalition for Women Prisoners et al. v. United States of
 4 America Federal Bureau of Prisons et al., and case number (4:23-CV-04155-YGR).
 5
   Comments must be postmarked no later than February 7, 2025, and sent to the following
 6 address:
 7                                              Clerk of the Court
 8                                          United States District Court
                                           Northern District of California
 9                                         1301 Clay Street, Suite 400S
                                               Oakland, CA 94612
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                   11.      A hearing is appropriate to consider whether this Court should grant final
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     approval to the Proposed Consent Decree, and to allow adequate time for Class Members,
14
     or their counsel, to support or oppose this settlement.
15
                   12.     A final approval hearing pursuant to Rule 23(e), Federal Rules of Civil
16
     Procedure, will be in the Courtroom of undersigned on February 25 at 1:00 p.m. in the
17
     United States District Court for the Northern District of California, to determine whether
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     the proposed settlement is fair, reasonable, and adequate, and whether it should be finally
19
     approved by the Court. The hearing may be continued from time to time without further
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     notice. Party briefs in support of final approval shall be filed on or before February 14,
21
     2025
22
     IT IS SO ORDERED.
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24
25                                                             Honorable Yvonne Gonzalez Rogers
     DATED: December 20 2024
            ____________,                                      United States District Judge
26
27
28
     [4614672.5]                                      3                   Case No. 4:23-cv-04155-YGR
                          ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL OF PROPOSED
                                               CONSENT DECREE
